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                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 DISPLAY TECHNOLOGIES, LLC,

                        Plaintiff,                  Civil Action No. 2:15-cv-998-JRG-JRP

                v.                                     CONSOLIDATED LEAD CASE

 NVIDIA CORPORATION, et al.,                              JURY TRIAL DEMANDED

                        Defendant.


                     JOINT MOTION TO STAY ALL PENDING DEADLINES
                             AND NOTICE OF SETTLEMENT

        Plaintiff Display Technologies, LLC (“Plaintiff”), and Defendant Samsung Electronics

 America, Inc. (“Defendant”) (collectively, “the parties”) have reached a settlement agreement in

 principle that resolves all matters in controversy between Plaintiff and Defendant in the above-

 entitled and numbered action. The parties expect to jointly file a dismissal with prejudice of all

 claims between them within 30 days. Accordingly, Plaintiff and Defendant respectfully request

 the Court stay all deadlines between them for 30 days, up to and including March 2, 2016.

 Plaintiff and Defendant request this Stay, not for the purposes of any delay, but so that they may

 finalize the settlement agreement and file dismissal papers without incurring additional expenses.
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       DATED February 1, 2016.            Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 1st day of February, 2016, I electronically filed the foregoing
 document with the clerk of the court for the U.S. District Court, Eastern District of Texas,
 Marshall Division, using the electronic case filing system of the court. The electronic case filing
 system sent a “Notice of Electronic Filing” to the attorneys of record who have consented in
 writing to accept this Notice as service of this document by electronic means.

                                              /s/ Stevenson Moore___
                                              Stevenson Moore
